Case 2:25-cv-00197-JCZ-DPC   Document 227-2   Filed 06/17/25   Page 1 of 2




         EXHIBIT
               Case 2:25-cv-00197-JCZ-DPC      Document 227-2      Filed 06/17/25    Page 2 of 2




 SHA256 File Checksum
This SHA256 online tool helps you calculate the hash of a file from local or URL using SHA256 without
uploading the file. It also supports HMAC.

                                                                                                             7^
 Input




                                                     D
                                              IMG O471.mov




                                                                                                             71
 Output                                                                                             0   1/


262755a8c540834b48074d91d25dfe45a2e920709f38efe34fci9d799aa64288 0




Settings


                                                   Hash


           Auto Update


           Remember Input

Input Type

  File
